Case 1:24-cv-00547-JMB-PJG ECF No. 37-1, PageID.473 Filed 09/12/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


LOREN OWENS,
       Plaintiff,                                    Case No. 1:24-CV-00547
                                                     Hon. Jane M. Beckering
v


DOES 1-133,


                                      ADJOURNMENT
                                           AND
                                    NOTICE OF HEARING

At the request of the parties; it is hereby ordered, the Hearing Set the Motion to Expedite - #26

set for Monday, September 16, 2024 (#36), be adjourned and rescheduled.


TAKE NOTICE that a hearing on the following motion(s) has been scheduled as set forth below:

Motion(s):             Motion to Expedite - #26
Date/Time:             September 26, 2024 10:00 AM
Magistrate Judge:      Phillip J. Green
Place/Location:        499 Federal Building, Grand Rapids, Michigan




Dated:____________________________                   By____________________________
                                                     Phillip J. Green
                                                     United States Magistrate Judge
